915 F.2d 1572
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.John H. MONEY, Plaintiff-Appellant,v.WESTERN UNION TELEGRAPH CO., Defendant-Appellee.
    No. 90-1712.
    United States Court of Appeals, Sixth Circuit.
    Oct. 9, 1990.
    
      Before NATHANIEL R. JONES and WELLFORD, Circuit Judges, ENGEL, Senior Circuit Judge.
    
    ORDER
    
      1
      This matter is before the court upon consideration of the appellant's response to this court's September 13, 1990, order directing him to show cause why his appeal should not be dismissed for lack of jurisdiction because of a late notice of appeal.  His response stated that he did not know the correct procedure for filing a timely notice of appeal.  The appellee has filed a motion to dismiss on the basis that the appeal was filed late.
    
    
      2
      It appears from the record that the judgment was entered September 28, 1989.  The notice of appeal filed on June 18, 1990, was over seven months late.  Fed.R.App.P. 4(a) and 26(a).  No motion for extension of time for filing the notice of appeal was filed in the district court within the thirty-day extension period provided by Fed.R.App.P. 4(a)(5).
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.   Baker v. Raulie, 879 F.2d 1396, 1398 (6th Cir.1989) (per curiam);  McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Denley v. Shearson/American Express, Inc., 733 F.2d 39, 41 (6th Cir.1984) (per curiam);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the motion to dismiss be granted and the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 8, Rules of the Sixth Circuit.
    
    